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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN


   FMIO, INC., a Michigan corporation
   and RICHARD A. GARST,

                     Plaintiffs,            Case No. 2:09-cv-12561

         v.                                 HONORABLE BERNARD A. FRIEDMAN

   TOWNSHIP OF SUMMERFIELD,                   HONORABLE MONA K. MAZJOUB,
   MICHIGAN, a Michigan municipal             MAGISTRATE JUDGE
   corporation, KEVIN R. IOTT in his official
   and individual capacities, TAMMY
   BLEASKA, in her official and individual
   capacities, JOAN WIEDERHOLD, in her
   official and individual capacities, DALE
   WAGENKNECHT, in his official and
   individual capacities, JAMES V. SEEGERT,
   in his official and individual capacities,
   AMY REITER, in her official and individual
   capacities, RICHARD KORALESKI, in his
   official and individual capacities, DAVID
   GRUDE, in his official and individual
   capacities, JOSEPH STRANGER, in his
   official and individual capacities, LINDA
   DIESING, in her official and individual
   capacities, and MICHAEL STRAHAN, in
   his official and individual capacities,
   jointly and severally,

                   Defendants.
   ________________________________________________________________


                PLAINTIFFS' MOTION FOR RECONSIDERATION
                    OF THIS COURT’S ORDER GRANTING
              DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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          Plaintiffs FMIO, Inc. and Richard Garst, through their counsel, The Victor

   Firm, PLLC, hereby respectfully request that this Court reconsider its December

   17, 2010 Order granting defendants’ motion for summary judgment, and in

   support of their motion, state as follows:

          1.     Plaintiffs FMIO, Inc. and Richard Garst have brought this lawsuit

   under 29 U.S.C. §1983 for denial of their rights to due process and equal

   protection, and for state law claims of defamation, violation of the Freedom of

   Information Act, violation of the Open Meetings Act, and violation of the Michigan

   Right To Farm Act.

          2.     Defendants moved this Court for summary judgment on various

   grounds, including the argument that the individual defendants had absolute or

   qualified immunity.

          3.     Defendants also sought summary judgment as to the constitutional

   claims, asserting that none of the defendants had violated plaintiffs’ rights to due

   process, equal protection or plaintiff Richard Garst’s First Amendment rights.

          4.     Defendants further sought summary judgment as to plaintiffs’ state

   law claims, asserting that there was no violation of the Open Meetings Act or the

   Michigan Freedom of Information Act or the Michigan Right To Farm Act, and

   that defendants did not defame plaintiffs.

          5.     This Court issued its Order on December 17, 2010, granting

   defendants’ motion for summary judgment in its entirety.

          6.     Plaintiffs submit that the evidence in the record demonstrates that

   plaintiffs have, at the very least, established a genuine issue of material fact




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   sufficient to survive a motion for summary judgment, and that this Court’s

   December 17, 2010 Order appears not to have considered certain evidence

   plaintiffs proffered in their brief in opposition to defendants’ motion for summary

   judgment.

          7.     Plaintiffs therefore respectfully request that this Court reconsider its

   ruling of December 17, 2010, in light of the evidence which has already been

   submitted into the record, and that this Court set aside the summary judgment in

   favor of defendants and set this case for a trial on plaintiffs' claims.

          WHEREFORE, plaintiffs FMIO, Inc. and Richard Garst respectfully

   request that this Court reconsider its December 17, 2010 Order, and set aside

   the grant of summary judgment in favor of defendants, and allow this matter to

   proceed to trial.



                                       /s/ Cindy Rhodes Victor________
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                                       Attorneys for Plaintiffs
   Dated: January 3, 2011




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN


   FMIO, INC., a Michigan corporation
   and RICHARD A. GARST,

                     Plaintiffs,            Case No. 2:09-cv-12561

         v.                                 HONORABLE BERNARD A. FRIEDMAN

   TOWNSHIP OF SUMMERFIELD,                   HONORABLE MONA K. MAZJOUB,
   MICHIGAN, a Michigan municipal             MAGISTRATE JUDGE
   corporation, KEVIN R. IOTT in his official
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   capacities, JOSEPH STRANGER, in his
   official and individual capacities, LINDA
   DIESING, in her official and individual
   capacities, and MICHAEL STRAHAN, in
   his official and individual capacities,
   jointly and severally,

                   Defendants.
   ________________________________________________________________

             BRIEF IN SUPPORT OF PLAINTIFFS' MOTION FOR
              RECONSIDERATION OF THIS COURT’S ORDER
        GRANTING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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              CONTROLLING OR MOST APPROPRIATE AUTHORITY


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   Booth Newspapers, Inc. v. Univ. of Mich. Bd. of Regents, 444 Mich. 211, 507
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   Fritz v. Charter Twp. of Comstock, 592 F.3d 718 (6th Cir. 2010)

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   Huff v. Metropolitan Life Ins. Co., 675 F.2d 119 (6th Cir. 1982)

   Keweenaw Bay Indian Community v. United States, 940 F. Supp. 1139 (W.D.
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   Nagle Industries v. Ford, 175 F.R.D. 251 (E.D. Mich. 1997), aff'd, 194 F.3d 1339
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                CONCISE STATEMENT OF THE ISSUE PRESENTED

          Whether this Court should reconsider its December 17, 2010 Order

   granting defendants’ motion for summary judgment, and set aside that order and

   allow this case to proceed to trial?




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                         STATEMENT OF MATERIAL FACTS

         1.     Plaintiffs FMIO, Inc. and Richard Garst have brought this lawsuit

   under 29 U.S.C. §1983 for denial of their rights to due process and equal

   protection, and for state law claims of defamation, violation of the Freedom of

   Information Act, violation of the Open Meetings Act, and violation of the Michigan

   Right To Farm Act.

         2.     On November 8, 2000, plaintiff Garst attended a public meeting of

   the Township Board, and during the portion dedicated to the discussion of the

   Fire Report, he inquired about an alleged child pornography incident which may

   have occurred at the Summerfield Township Fire Hall (“Fire Hall”). The

   Township Board advised Garst that “this was not the proper time” to discuss the

   alleged child pornography incident and refused to discuss the matter (Plaintiffs’

   Opposition to Defendants’ Motion for Summary Judgment [“Opp DMSJ”], Ex. 2;

   Defendants’ Motion for Summary Judgment [“DMSJ”], Ex. A at 39-40).

         3.     Additionally, Garst was told that in the future, he should ask to be

   on the agenda if he wanted to speak at Township Board meetings (Id.).

         4.     On March 17, 2003, Garst attended a Township Board meeting

   where he stated that there were certain Township firemen that should not be

   around children because the Federal Bureau of Investigations (“the FBI”)

   investigation of alleged child pornography incidents occurring at the Fire Hall was

   still an open investigation (Opp DMSJ, Ex. 4).

         5.     When Garst received an approved written copy of the meeting

   minutes of the March 17, 2003 Township Board meeting, he discovered that the
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   minutes reflected that he had suggested that Randy LaRocca was one of the

   individuals under investigation by the FBI (Id.).

             6.    Garst did not suggest that Randy LaRocca was under investigation

   by the FBI; instead, Garst said at the March 17, 2003, Township Board meeting

   that Randy LaRocca was the only person at the Fire Hall he could trust.

             7.    From 2000 through 2003, plaintiffs had a lease agreement with the

   township to farm certain township property.

             8.    However, after criticizing township officials for their handling of the

   child pornography matter, on September 17, 2003, Garst received a letter from

   the Township informing him that the Township Board had decided not to renew

   the lease agreement because there was another interested party (DSMJ, Ex. A

   at 55).

             9.    In spite of the representation, on September 25, 2003, the

   Township Board placed an advertisement in The Independent seeking bids for

   approximately 69 of 77 acres of farm property located on Ida West Road (Opp

   DMSJ, Ex. 6).

             10.   On November 5, 2003, the Township Board sent a letter to Howard

   Keinath to inform him that he was the highest bidder on the 69 acres of farm

   property located on Ida West Road (Opp DMSJ, Ex. 7).

             11.   Garst offered to match any offer on the property so that plaintiffs

   would not lose the ability to farm the property, but the Township just simply

   refused to deal with him (DMSJ, Ex. A at 57).




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           12.    Instead, on March 2, 2004, the Township and Howard Keinath

    entered in a lease agreement for 67 acres of farm property located on Ida West

    Road for the amount of $7,705.00 per year, with the term of the lease being from

    March 2, 2004 through December 31, 2006 (Opp DMSJ, Ex. 8).

           13.    On October 28, 2004, Zelda Lucas, then-Township Supervisor, and

    defendant Kevin R. Iott, then-candidate for the office of Township Supervisor,

    served a personal protection order (PPO) on Garst that prevented him from

    attending the Township Board meetings (DMSJ, Ex. A at 22, 76).

           14.    The statement made in the application for the PPO by Supervisor

    Iott was not sworn, and his statement was contradicted by Supervisor Lucas’

    statement in support of the PPO. Garst denied that he ever took any wrongful

    actions against anyone, and the PPO was dissolved (Id. at 22).

           15.    Soon afterwards, Township Fire Chief Nick Lucas, Supervisor

    Lucas’ son, wrongfully filed assault charges against Garst. Garst was acquitted

    of these false charges on July 12, 2005, after a jury trial (Id. at 129-31).

           16.    On February 22, 2005, Garst received a letter from Peter Fales, an

    attorney for David Kottke, who serves as the Township’s cemetery sexton, in

    which Garst was advised that Kottke was upset over a slanderous comment

    attributed to Garst in the minutes of the August 16, 2004 Township Board

    meeting (Opp DMSJ, Ex. 10).

           17.    Garst responded to Fales’ letter on March 15, 2005, and explained

    that he had not made the slanderous comment, that he asked the Township

    Board to correct the minutes, and that the issue of incorrect statements being




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    printed by defendant Clerk Bleaska in the minutes of the Township Board

    meetings was an on-going issue which has been acknowledged and addressed

    by the Township Board (Opp DMSJ, Ex. 11).

           18.     On June 29, 2006, Garst delivered plaintiffs’ site plan review packet

    for a new produce stand on the subject property to the Township Hall (DMSJ, Ex.

    A at 80-81).

           19.     The site plan review packet contained: (1) a cover letter; (2) a

    $300.00 check for the application fee; (3) the application for site plan review; (4)

    the engineered site plan for the proposed produce stand; (5) a report from

    George B. Warnke, Jr., Registered Land Surveyor; (6) a description of the

    proposed new produce stand; and (7) a demolition permit for the old produce

    stand (Opp DMSJ, Ex. 13).

           20.     On November 13, 2006, the Township informed Garst that it did not

    have the check which FMIO had submitted with its site plan review application

    packet on June 29, 2006. FMIO immediately obtained a certified check in the

    amount of $300.00 to Summerfield Township on that very same day, November

    13, 2006, and provided it to the Township (Opp DMSJ, Ex. 14; DMSJ, Ex. A at

    88).

           21.     Approximately one week later, on or about November 20, 2006, the

    Township then informed Garst that it could not find plaintiffs’ site plan application

    (DMSJ, Ex. A at 89-91).

           22.     On April 4, 2009, Garst received a letter from Michael Mihalec,

    Township Ordinance Enforcement Officer, advising him that there would be a




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    dangerous building inspection and hearing at 4019 Sylvania-Petersburg Road,

    on Wednesday, April 22, 2009 at 10:00 a.m. (Opp DMSJ, Ex. 16).

           23.    At the April 20, 2009 Township Board meeting, when Garst asked

    the Township Board as to the status of the review of plaintiffs’ site plan, which

    had been submitted almost three years earlier, Township Attorney Conly K.

    Crossley refused to allow Garst to discuss the issue, and told Garst that he could

    present his evidence of the submittal at the “Dangerous Building Hearing” which

    was to be held on April 22, 2009 (Opp DMSJ, Ex. 17; DMSJ, Ex. A. at 25).

           24.    When Garst was told that he could not discuss the issue that

    plaintiffs’ site plan had been pending without any action for almost three years,

    he immediately stopped discussing the issue.

           25.    However, since he had not used up his allotted time to speak, he

    brought to the attention of the Township Board that a commercial trucking

    business and/or terminal was wrongfully being allowed to operate in the

    Township (Opp DMSJ, Ex. 17).

           26.    Garst informed the Township Board that the commercial trucking

    business and/or terminal was located on property leased by Mark LaRocca, the

    Township Constable, who was defendant Supervisor Iott’s brother-in-law, and

    that defendant Supervisor Iott, who drove a truck for Mark LaRocca’s business,

    parked the truck which he drove at the illegal commercial trucking business

    and/or terminal (DMSJ, Ex. A at 25-26).

           27.    Township Attorney Crossley again stopped Garst from speaking,

    and again told him that he could not bring this forward at a public meeting, but




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    instead, told him that he could only speak at the “Dangerous Building Hearing.”

    Township Attorney Crossley then unilaterally declared that the “public comment”

    portion of the public meeting was over (Opp DMSJ, Ex. 17).

           28.    On April 29, 2009, a meeting was held at the Township Hall to

    discuss how to resolve the issue of the review of plaintiffs’ site plan, on which

    defendants had failed to take any action for almost three years. In attendance at

    this meeting were defendant Supervisor Iott, defendant Planning Commission

    Chair Reiter, Township Building Inspector Lange, Township Enforcement Officer

    Mihalec and Township Attorney Crossley (Opp DMSJ, Ex. 18).

           29.    On April 30, 2009, defendant Reiter, based on apparent authority

    from the Township, drafted a letter to Garst which stated that, in an attempt to

    resolve the issue of the lack of review of plaintiffs’ site plan, the Township would

    require plaintiffs to: (1) reapply for site plan review; (2) pay an application fee of

    $300; (3) be financially responsible for outside consulting fees; (4) after approval

    from the Township Planning Commission, obtain a building permit from the

    Township building inspector; (5) be financially responsible for any fees which the

    Township building inspector incurred; and (6) tear down the old produce stand

    within 90 days of receiving a building permit for the new produce stand (Id.;

    DMSJ, Ex. A at 98).

           30.    On May 15, 2009, Garst submitted to the Township a request under

    the Michigan Freedom Of Information Act (“FOIA”), M.C.L. 15.231 et seq., in

    which he requested: (1) a copy of all minutes of the April 29, 2009 meeting; (2)

    the names of the individuals, including the members of the Township Board, who




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    attended the April 29, 2009 meeting; (3) a copy of the posted notice of the

    special meeting on April 29, 2009; and (4) a copy of all correspondence between

    the Township attorney(s) and the Township regarding the April 29, 2009 special

    meeting (Opp DMSJ, Ex. 19).

           31.    On May 20, 2009, Garst received a letter from Township Attorney

    Crossley (Opp DMSJ, Ex. 20), denying his FOIA request because:

           [t]he April 29, 2009 meeting of the Township Supervisor, Building
           Inspector, Planning Chairperson, Ordinance Enforcer and Attorney
           to discuss numerous pending issues does not meet the definition of
           either a “public body” or “meeting” as set forth in MCLA 16.262.
           The minutes, transcripts, notes, posting you have requested do not
           exist. Pursuant to MCLA 15.233 the Act does not require a public
           body to make a compilation, summary or report of information, or to
           create a new public record.

                                 STANDARD OF REVIEW

           Plaintiffs bring this motion under Fed. R. Civ. P. 59(e) and L.R. 7.1(g)(3).

    Rule 59(e) provides that "any motion to alter or amend a judgment shall be filed

    no later than 28 days after entry of the judgment." The Federal Rules of Civil

    Procedure do not provide for a motion for reconsideration. Nagle Industries v.

    Ford, 175 F.R.D. 251 (E.D. Mich. 1997), aff'd, 194 F.3d 1339 (Fed. Cir. 1999)

    (quoting Basinger v. CSX Transp., Inc., 91 F.3d 143 (6th Cir. 1996), cert den, 519

    U.S. 1111 (1997)). However, "such motions, if served within 10 [now 28] days of

    the entry of judgment, are considered motions to alter or amend judgments

    pursuant to Fed. R. Civ. P. 59(e)." Id. L.R. 7.1(g)(3) sets forth the rule in this




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    District Court for motions for reconsideration, which provides that motions for

    reconsideration must be filed within 14 days after entry of the judgment or order.1

           Motions to alter or amend the judgment, brought pursuant to Fed. R. Civ.

    P. 59(e), "are entrusted to the Court's sound discretion." Keweenaw Bay Indian

    Community v. United States, 940 F. Supp. 1139, 1140 (W.D. Mich. 1996), rev'd

    on other grounds, 136 F.3d 469 (6th Cir. 1998) (citing Huff v. Metropolitan Life

    Ins. Co., 675 F.2d 119, 122 (6th Cir. 1982)). "Rule 59(e) motions are generally

    granted for three reasons: (1) because of an intervening change in the controlling

    law; (2) because evidence not previously available has become available; or (3)

    necessity to correct a clear error of law or prevent manifest injustice." Keweenaw

    Bay, 940 F. Supp. at 1141 (footnote and citation omitted).

                                       DISCUSSION

           Plaintiffs bring this motion for reconsideration to prevent manifest injustice,

    as it appears from this Court’s December 17, 2010 Order that certain important

    evidence which was attached to plaintiffs’ opposition to defendants’ motion for

    summary judgment was not considered by the Court in rendering its decision.

    I.     THE EVIDENCE IN THE RECORD DEMONSTRATES THAT THERE
           EXIST GENUINE ISSUES OF MATERIAL FACT AS TO PLAINTIFFS'
           FIRST AMENDMENT CLAIMS

           In their brief in opposition to the motion for summary judgment, plaintiffs

    set forth the controlling case authority and evidence in the record which

    1
     Pursuant to Fed. R. Civ. P. 6(a)(1)(C), if the last day to act is a legal holiday, the
    period continues to run until the same time on the next day that is not a Saturday,
    Sunday, or legal holiday. According to this District Court’s website, December
    31, 2010 was a legal holiday, making the instant motion due on January 3, 2011.




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    demonstrated that there was, at the least, a genuine issue of material fact as to

    whether defendants had retaliated against plaintiffs for the exercise of their First

    Amendment rights. In its opinion, this Court held that plaintiffs failed to

    demonstrate that there were any adverse actions taken which would deter a

    person of ordinary firmness from exercising their First Amendment rights, or that

    an adverse action was taken which was motivated by plaintiffs' protected

    conduct. However, this decision appears to not have considered the evidence in

    the record which plaintiffs put before this Court in their opposition brief.

           As the record shows, as far back as 2000, when plaintiff Garst attempted

    to address the Township Board with his concerns as to an alleged child

    pornography incident at the township fire hall, defendants attempted to prevent

    him from speaking about this issue, and demanded that if he wanted to speak at

    future township board meetings, that he would have to be placed on the agenda

    (Opp DMSJ, Ex. 2; DMSJ, Ex. A at 39-40). Thus, while this Court correctly

    states that the First Amendment does not require the Township to place Garst on

    the meeting agenda whenever he demands, the Township likewise cannot

    demand that Garst speak to the Township board only when he is placed on the

    agenda, thereby denying to him the right to public comment which is afforded to

    every other citizen. Garst -- and only Garst -- thus was prevented from speaking

    during the portions of Township meetings dedicated to the public to address the

    public body.

           The evidence in the record also shows that defendants further attempted

    to deter plaintiffs from exercising their First Amendment rights by intentionally




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    attributing false statements to Garst in the official Minutes of the Township Board

    meetings, such as in the March 17, 2003 minutes which falsely reports that Garst

    singled out a specific firefighter in the child pornography investigation (Opp

    DMSJ, Ex. 4), and in the August 16, 2004 minutes, which falsely attributed to

    Garst a slanderous comment regarding the cemetery sexton, resulting in a

    February 22, 2005 correspondence to Garst threatening litigation (Opp DMSJ,

    Ex. 10).

           Further, when it became known that Garst intended to seek recall of

    certain Township officials, defendants decided not to renew the farm lease

    plaintiffs had with the Township. While there is per se nothing wrong with this

    action, the fact remains that plaintiffs offered to match any offer on the property

    so that they would not lose the ability to farm the property. Yet despite this offer,

    the Township simply refused to deal with plaintiffs at any price (DMSJ, Ex. A at

    57).

           While Garst refused to back down and continued to criticize Township

    officials, on October 28, 2004, Zelda Lucas, then-Township Supervisor, and

    defendant Kevin R. Iott, then-candidate for the office of Township Supervisor,

    served a personal protection order (PPO) on Garst that prevented him from

    attending the Township Board meetings (DMSJ, Ex. A at 22, 76). The statement

    made in the application for the PPO by Supervisor Iott was not sworn, and his

    statement was contradicted by Supervisor Lucas’ statement in support of the

    PPO. Garst denied that he ever took any wrongful actions against anyone, and

    the PPO was dissolved after 30 days (Id. at 22). However, this action was




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    designed solely to prevent Garst from speaking at a public meeting prior to the

    election. Then, shortly after the election, Zelda Lucas’ son filed a bogus lawsuit

    against Garst alleging assault. A jury acquitted Garst of all charges on July 12.

    2005 (DMSJ, Ex. A at 129-31).

           Lastly, in 2009, after attempting for three years to have his site plan

    application considered by the township, Garst was cited for having a dangerous

    building (the building Garst intended to replace as part of his site plan

    application), and was prevented from addressing the Township Board regarding

    these issues (Opp DMSJ, Ex. 17). Instead of being able to discuss these matters

    in a public forum, Garst was told that he may only address these issues at the

    “Dangerous Building Hearing” which would be held at plaintiffs’ property, and not

    open to the public. When Garst changed topics and attempted to discuss an

    illegal commercial trucking business and/or terminal located within the township,

    he was again prevented from addressing the board, and the Township attorney

    declared the public comment portion of the meeting closed (Id.).

           Based on the above, plaintiffs submit that they have sufficiently

    demonstrated that defendants took adverse actions against them to prevent

    plaintiffs from exercising their First Amendment rights. Plaintiffs submit that

    these actions were taken either in retaliation for plaintiff Garst’s criticisms of

    Township officials, or to prevent Garst from engaging in further criticisms.

    Plaintiffs further submit that the actions in which defendants engaged, such as

    intentionally attributing false statements to Garst in official public meeting

    minutes (which resulted in at least one instance of someone threatening to sue




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    Garst), or making false statements about Garst in order to obtain a PPO, and or

    filing false assault charges against Garst, were such that they would likely deter a

    "a person of ordinary firmness." As the court stated in Fritz v. Charter Twp. of

    Comstock, 592 F.3d 718, 723 (6th Cir. 2010), actions such as "harassment or

    publicizing facts damaging to a person's reputation" constitute the type of actions

    which give rise at least to a genuine issue of material fact as to whether a person

    of ordinary firmness would likely be deterred from continuing to speak out at

    pubic meetings. The evidence before this Court, as set forth in the references to

    the record in plaintiffs' opposition brief, demonstrates that there is at least a

    genuine issue of material fact as to whether defendants' actions would deter a

    person of ordinary firmness from speaking out, sufficient to preclude a grant of

    summary judgment. Plaintiffs therefore respectfully request this Court reconsider

    its grant of summary judgment as to plaintiffs’ First Amendment claims and set

    that decision aside, allowing this matter to proceed to trial.

    II.    THE EVIDENCE IN THE RECORD DEMONSTRATES THAT THERE
           EXIST GENUINE ISSUES OF MATERIAL FACT AS TO PLAINTIFFS'
           EQUAL PROTECTION CLAIMS

           In their opposition to the motion for summary judgment, plaintiffs also set

    forth the controlling case authority and evidence in the record which

    demonstrated that there was a genuine issue of material fact as to whether

    defendants had deprived plaintiffs of their rights to equal protection of the law as

    guaranteed by the Fourteenth Amendment. In its opinion, this Court determined

    that plaintiffs did not identify a single instance of being treated differently from

    similarly situated persons, and failed to identify a single person who was treated




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    differently than they were. However, this decision also appears to not have

    considered the evidence in the record which was before this Court.

           Plaintiffs respectfully submit that they did identify other similarly-situated

    entities which operated a commercial venture which were not required to submit

    a site plan application. For example, plaintiffs in their opposition identified to the

    Court Mark LaRocca, the Township Constable, who is defendant Supervisor

    Iott’s brother-in-law, as the owner of a business which leases property within the

    Township and which operates there despite not having submitted a site plan or

    obtained any of the requisite permits for the business. Defendant Supervisor Iott,

    who drives a truck for this business, routinely parks the truck at this illegal

    commercial trucking business and/or terminal (DMSJ, Ex. A at 25-26). Even

    though the Township is aware of these activities, it has never required LaRocca

    to submit a site plan and/or pay any fees or obtain any permits, but instead

    continues to allow LaRocca to operate illegally, while imposing different and

    more harsh standards on plaintiffs.

           Additionally, as Garst testified in his deposition, he was advised by

    Township Supervisor Iott that, despite the fact that no enabling ordinance or

    motion provided for this action, plaintiffs - and only plaintiffs - would be

    responsible for additional fees, which had not heretofore been demanded of any

    other applicant for site plan review (DMSJ, Ex. A. at 100). This was confirmed by

    the letter which Planning Commission Chair Reiter sent to Garst, outlining these

    special fees, which had not been charged to any other applicant (Ex. 18; DMSJ,

    Ex. A at 98). Singling plaintiffs out for this discriminatory less favorable




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    treatment, which not been demanded of other site plan review applicants, thus

    caused plaintiffs to be treated differently than others who were similarly situated

    to plaintiffs, and violated plaintiffs’ rights to equal protection.

           Further, plaintiffs also maintained in their opposition to the motion for

    summary judgment that defendants deprived them of their rights to equal

    protection of the law by selectively enforcing Township ordinances against them

    because they engaged in the exercise of constitutional rights to petition and

    criticize the government. Under the Equal Protection Clause, a party may bring a

    claim of selective enforcement of an otherwise valid law or regulation. Village of

    Willowbrook v. Olech, 528 U.S. 562 (2000); Hillside Prods, Inc. v. Duchane, 249

    F. Supp. 2d 880, 897 (E.D. Mich. 2003). As the court set forth in Hillside Prods,

    Inc., there are three types of selective enforcement claims. Under the second

    type of selective enforcement claim, which is the type that plaintiffs alleged in the

    case at bar, a plaintiff must show an exercise of a protected right, the enforcer’s

    “stake” in the exercise of that right; the unreasonableness of the enforcer’s

    conduct; and that the enforcement was initiated with the intent to punish plaintiff.

    In considering this issue, the court in Futernick v. Sumpter Twp., 78 F.3d 1051

    (6th Cir. 1996) explained,

           selective enforcement intended to discourage or punish the
           exercise of a constitutional right, especially the right to criticize the
           government, is sufficient basis for §1983 relief.

    Id. at 1057. As the court held in United States v. Bustamente, 805 F.2d 201, 202

    (6th Cir. 1986), impermissible considerations are not just to race or religion, but

    include the desire to prevent the exercise of constitutional rights. Likewise, it is




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    well established that “retaliation by public officials against the exercise of First

    Amendment rights is itself a violation of the First Amendment.” Zilich v. Longo,

    34 F.3d 359 (6th Cir. 1994)

           In their motion, defendants never addressed plaintiffs' selective

    enforcement claim. Plaintiffs thus submit that it would be manifestly unjust to

    grant defendants summary judgment on plaintiffs' selective enforcement claim

    when defendants never sought summary judgment on that claim, and that

    summary judgment as to this claim should be set aside, allowing this claim to

    proceed to trial. As the evidence in the record demonstrates, plaintiffs have

    exercised their constitutionally-protected right to petition and criticize the

    government. Defendants, as those who were petitioned and criticized, clearly

    have a “stake” in not wanting plaintiffs to be able to exercise that right. As

    plaintiffs have set forth above, defendants' conduct could only be considered

    unreasonable - for example, defendants' actions in obtaining a PPO on false

    grounds to stop Garst from speaking at public meetings; filing false criminal

    charges against him; terminating the lease for property on which he had been

    farming, despite his willingness to match any offer for the property; failing to

    review plaintiffs' site plan for three years; and the sham hearing under the

    "Dangerous Building Ordinance." As Garst made clear throughout his

    deposition, this "enforcement" was initiated solely with the intent to punish

    plaintiffs for exercising their constitutional rights. The evidence in the record

    before this Court thus demonstrated that there is at least a genuine issue of

    material fact that defendants selectively enforced the law and the Township's




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    ordinances against plaintiffs, to punish plaintiffs for exercising their First

    Amendment rights, sufficient to preclude summary judgment.

           Plaintiffs submit that this evidence in the record raises at genuine issue of

    material fact as to plaintiffs' equal protection claims sufficient to preclude a grant

    of summary disposition. Accordingly, plaintiffs respectfully request that this Court

    reconsider its grant of summary judgment as to plaintiffs’ equal protection claims,

    and allow this matter to proceed to trial.

    III.   THE EVIDENCE IN THE RECORD DEMONSTRATES THAT THERE
           EXIST GENUINE ISSUES OF MATERIAL FACT AS TO PLAINTIFFS'
           PROCEDURAL AND SUBSTANTIVE DUE PROCESS CLAIMS

           In its decision granting summary judgment as to plaintiffs' procedural and

    substantive due process claims, this Court ruled that plaintiffs failed to

    demonstrate that defendants violated plaintiffs’ rights to either substantive or

    procedural due process. The basis for this holding was the increase of the site

    plan application fee, and that plaintiffs received notice in regards to the farm

    lease, the FOIA appeal opportunity, and the dangerous building violation.

    However, what this Court did not address was plaintiffs’ submittal of their site

    plan application, and defendants’ failure to consider it. Defendants insist that

    they never received a site plan application, and in support, they rely solely upon

    the affidavit of Martin Weiderhold, which states that Garst did not leave any

    documents with him and he did not see Garst leave any documents in the

    township hall (DMSJ, Ex. F).

           However, plaintiff Garst testified at length in his sworn deposition about

    this issue, and repeatedly stated that he did indeed leave the site plan application




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    at the Township Hall (DMSJ, Ex. A at 78-98). Defendants never rebut this sworn

    testimony. Plaintiffs also attached a copy of the site plan application package to

    their Complaint when it was filed - and defendants did not answer that this was

    the first time they had ever seen it. Further, the unrebutted evidence in the

    record before this Court shows that defendants advised plaintiff Garst that they

    could not find the application fee which plaintiffs had submitted, which caused

    Garst to obtain a certified check for $300 (Opp DMSJ, Ex. 14; DMSJ, Ex. A at

    88). Defendants do not make any statements as to why Garst needed to submit

    a check for $300 to the Township. Indeed, the certified check has a notation

    hand-written on the bottom of it that it was a replacement check for Check #3513,

    which is the check submitted along with the site plan application (Opp DMSJ, Ex.

    13). It was only after the certified check was delivered that the Township then

    began to claim that it never received the original site plan application, and

    refused to accept copies of the plans unless Garst paid the substantially

    increased fee (DMSJ, Ex. A at 91-96).

           Plaintiffs submit that the evidence demonstrates that defendants did

    receive the site plan application, and either lost it or refused to process it. At the

    very least, a factual dispute exists as to whether defendants received the site

    plan application. Summary judgment under Fed. R. Civ. P. 56 is appropriate only

    when there is no genuine issue as to any material fact and the moving party is

    entitled to judgment as a matter of law. The central inquiry is “whether the

    evidence presents a sufficient disagreement to require submission to a jury or




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    whether it is so one-sided that one party must prevail as a matter of law.”

    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986).

           The movant has an initial burden of showing “the absence of a genuine

    issues of material fact.” Id. Once the movant meets this burden, the non-movant

    must come forward with specific facts showing that there is a genuine issue for

    trial, but the court must believe the non-movant’s evidence and draw “all

    justifiable inferences” in the non-movant’s favor. Id. at 255. The inquiry is

    whether the evidence presented is such that a jury applying the relevant

    evidentiary standard could “reasonably find for either the plaintiff or the

    defendant.” Id. Credibility determinations are not appropriate at the summary

    judgment stage of proceedings. Id.

            Plaintiffs submit that this Court erred by not believing the deposition

    testimony of Garst and the documentary evidence, and did not draw all justifiable

    inferences in plaintiffs’ favor. Accordingly, plaintiffs respectfully request this

    Court reconsider its grant of summary judgment as to plaintiffs’ due process

    claims, and allow this matter to proceed to trial.

    IV.    THE EVIDENCE IN THE RECORD DEMONSTRATES THAT THERE
           EXIST GENUINE ISSUES OF MATERIAL FACT AS TO PLAINTIFFS'
           FREEDOM OF INFORMATION ACT AND OPEN MEETINGS ACT CLAIMS

           This Court in its opinion granting summary judgment determined that since

    there was not a quorum at the April 29, 2009 meeting, no "meeting" could have

    taken place, and thus there was no basis for plaintiffs' claims under the Freedom

    of Information Act ("FOIA"), M.C.L. 15.231 et seq., and Open Meetings Act

    ("OMA"), M.C.L. 15.261 et seq. However, plaintiffs submit that this ruling does




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    not take into account case authority which states that even a subcommittee -

    which is less than a quorum of the full public body - must comply with the

    requirements of OMA. Plaintiffs also submit that it appears the decision granting

    summary judgment on these issues did not consider that the April 29, 2009

    meeting resulted in a decision by the Township to proffer a proposal to plaintiffs

    to resolve the disputed site plan application issue. The April 30, 2009

    correspondence from Planning Commission Chair Amy Reiter (Opp DMSJ, Ex.

    18) laid out the proposal. The April 30, 2009 correspondence was not the result

    of discussions between plaintiffs and defendants, it was the result of a decision

    by those at the April 29, 2009 meeting which was made on behalf of the

    Township and then communicated to plaintiffs. Garst specifically testified about

    this proposal and communications relating to it, and defendants never deny that

    such a proposal was made (DMSJ, Ex. A at 99-100).

           The OMA requires that all decisions of a public body shall be made at a

    meeting open to the public. M.C.L. 15.263(2). It is not disputed that the April 29,

    2009 meeting was not open to the public. Thus, the decision by the township

    officials on April 29, 2009 to send a proposed resolution to plaintiffs could only be

    seen as a violation of the OMA. Plaintiffs respectfully submit that this Court may

    have overlooked the fact that the April 29, 2009 meeting led to an official action

    by the Township, and instead only analyzed whether there was a meeting as

    defined by the Open Meetings Act.

           As the court made clear in Booth Newspapers, Inc. v. Univ. of Mich. Bd. of

    Regents, 444 Mich. 211, 507 N.W.2d 422 (1993), if a public body delegates its




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    authority to perform a function to a subcommittee, that subcommittee becomes a

    public body which must conform to the requirements of the OMA. 444 Mich. at

    226. Likewise in the case at bar, the Township delegated to the group which

    met on April 29, 2009 the task of deciding a resolution which to proffer to

    plaintiffs to resolve the issues as to plaintiffs' pending site plan application. By

    failing to meet in public, defendants violated the OMA. Accordingly, not only

    is there a genuine issue of material fact as to this issue, but plaintiffs submit

    that, by defendants' own admissions, these issues should have been decided

    in plaintiffs' favor.

           As for the FOIA claim, this Court held that since there was no meeting,

    there were no documents that would be responsive to plaintiffs’ FOIA request.

    However, plaintiffs’ FOIA request not only requested the minutes from the April

    29, 2009 meeting, it also requested any transcripts, notes, a list of the attendees,

    any postings noticing the meeting, and correspondences between attendees of

    the meeting (Opp DMSJ, Ex. 19). It is difficult to believe that Chair Reiter would

    send correspondence to plaintiffs the following day detailing the proposed

    resolution (Opp DMSJ, Ex. 18) based only on her mental recollection of what was

    discussed at the April 29, 2009 meeting, and not from any notes which were

    taken during the meeting. Some record of this meeting should have been kept, if

    only to memorialize that which discussed. Accordingly, plaintiffs respectfully

    request this Court reconsider its grant of summary judgment, and allow this

    matter to proceed to trial.




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    Dated: January 3, 2011
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN


    FMIO, INC., a Michigan corporation
    and RICHARD A. GARST,

                          Plaintiffs,                  Case No. 2:09-cv-12561

           v.                                          HONORABLE BERNARD A. FRIEDMAN

    TOWNSHIP OF SUMMERFIELD,                   HONORABLE MONA K. MAZJOUB,
    MICHIGAN, a Michigan municipal             MAGISTRATE JUDGE
    corporation, KEVIN R. IOTT in his official
    and individual capacities, TAMMY
    BLEASKA, in her official and individual
    capacities, JOAN WIEDERHOLD, in her
    official and individual capacities, DALE
    WAGENKNECHT, in his official and
    individual capacities, JAMES V. SEEGERT,
    in his official and individual capacities,
    AMY REITER, in her official and individual
    capacities, RICHARD KORALESKI, in his
    official and individual capacities, DAVID
    GRUDE, in his official and individual
    capacities, JOSEPH STRANGER, in his
    official and individual capacities, LINDA
    DIESING, in her official and individual
    capacities, and MICHAEL STRAHAN, in
    his official and individual capacities,
    jointly and severally,

                    Defendants.
    ________________________________________________________________

                                CERTIFICATE OF SERVICE

           I hereby certify that on the 3rd day of January, 2011, I electronically filed

    the foregoing Plaintiff's Motion for Reconsideration of this Court's Order Granting

    Defendants' Motion for Summary Judgment and supporting brief, with this

    Certificate of Service, with the Clerk of the Court using the ECF system which will

    send notification of such filing to all counsel of record.
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                                       /s/ Steven R. McCollum
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